45 F.3d 426NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Jeffrey Moses HILL, Petitioner Appellant,v.Carolyn V. RICKARDS, Warden;  United States ParoleCommission, Respondents Appellees.
    No. 94-6400.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 8, 1994.Decided Jan. 4, 1995.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  James R. Spencer, District Judge.  (CA-93-85-3)
      Jeffrey Moses Hill, appellant Pro Se.  Debra Jean Prillaman, Asst. U.S. Atty., Richmond, VA, for appellees.
      E.D.Va.
      AFFIRMED.
      Before WILKINSON and HAMILTON, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
    
    PER CURIAM
    
      1
      Appellant appeals from the district court's order denying relief on his 28 U.S.C. Sec. 2241 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Hill v. Rickards, No. CA-93-85-3 (E.D. Va.  Mar. 29, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    